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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

ARBOR GLOBAL STRATEGIES, LLC.,

                               Plaintiff
                                                             C.A. No. 19-cv-01986-MN
                          v.

XILINX, INC.,

                            Defendant.


             DECLARATION OF RONALD P. GOLDEN III IN SUPPORT OF
                 DEFENDANT’S REPLY BRIEF IN SUPPORT OF ITS
            MOTION TO DISMISS UNDER FED. R. CIV. P. 12(b)(1) AND 12(b)(6)

       I, Ronald P. Golden III, under penalty of perjury, declare as follows:

       1.      I am an attorney with the law firm of Fish & Richardson P.C., counsel for Xilinx,

Inc. (“Xilinx”) in this action. I make this declaration in support of Xilinx’s Reply Brief in

Support of its Motion to Dismiss Under Fed. R. Civ. P. 12(b)(1) and 12(b)(6). Unless otherwise

stated, the matters contained in this declaration are of my own personal knowledge and, if called

as a witness, I could and would testify competently to the matters set forth herein.

       2.      Attached hereto as Exhibit A is a true and correct copy of the Amended Order,

Certifying Interlocutory Appeal in Gerber Scientific International, Inc. v. Satisloh AG, et al. that

appears at Docket Index 103 in 07-CV-1382 (D. Conn. Sept 25, 2009).

       3.      Attached hereto as Exhibit B is a true and correct copy of Defendant Satisloh’s

Memorandum In Support of Its Motion to Amend and Certify Order for Interlocutory Appeal in

Gerber Scientific International, Inc. v. Satisloh AG, et al. that appears at Docket Index 102 in 07-

CV-1382 (D. Conn. Sept 14, 2009).
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       I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

       Executed this 30th day of January, 2020 at Wilmington, DE.



                                             /s/ Ronald P. Golden III
                                             Ronald P. Golden III




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